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                          IN THE UNITED STATES DISTRICT COURT                           i
                                                                                        J_'~ !.S. DISTRICT COUfiT
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                         FOR THE EASTERN DISTRICT OF VIRGINIA                          "7 -\ •„>'natA. vr:-.3;,-JiA   1
                                         Alexandria Division



 JON H. OBERG,

                        Plaintiff,

                                                     Civil Action No. 1:07cv0960 (JFA)

 NELNET, WC.,elaL,

                        Defendants.




                                              ORDER


        For the reasons stated during the status conference held in open court on October 18,

 2010, it is hereby ORDERED that the stay ordered by the court on August 13, 2010 (Docket no.

 558) shall continue until further order of the court. While this matter is stayed no pleadings shall

 be filed other than those related to the resolutionof the claims by the parties.

        Having been advised that defendants Education Loans, Inc. and Student Loan Finance

 Corporation may require payment from the 1998-1 and 1999-1 Indentures of Trust in order to

 satisfy the payment obligation assumed in a settlement agreement executed on August 18, 2010,

 it is hereby ORDERED that defendant Education Loans, Inc. immediately submit a formal

 demand for payment on such trusts, requesting payment to be released from such trusts as soon

 as possible, and no later than Friday, October 22,2010.

        In the event there has not been a final resolution of the claims with all the defendants, the

 court will have a status conference with any remaining defendant on Monday, October 25, 2010

 at 2:00 p.m. to discuss lifting the stay and scheduling further proceedings.
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        Entered this 18th day of October, 2010.


                                                               Jsf.
                                                  John F. Anderson


                                                   United States Magistrate Judge

 Alexandria, Virginia
